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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
               v.                                 :   Case No. 21-cr-75 (RDM)
                                                  :
MATTHEW RYAN MILLER,                              :
                                                  :
        Defendant.                                :

                                    JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and A. Eduardo Balarezo, counsel for Matthew Ryan Miller (“the

defendant”), hereby submit the following Joint Status Report:

       Pursuant to the Court’s July 15, 2021 Minute Order, the parties conferred and submit the

following:

       1. On or about June 14, 2021, the government extended a plea offer to the defendant in

             this case.

       2. The parties are in active negotiations regarding the outstanding plea offer and need an

             additional 30 days to determine whether we can reach a pre-trial disposition in this

             matter.

       3. The parties request to submit a follow-up Joint Status Report in approximately 30 days.

       4. For the reasons outlined in the Court’s March 17, 2021 Order (ECF No. 29), May 17,

             2021 Minute Order, July 1, 2021 Minute Order, the government’s July 12, 2021 Notice

             of Status of Discovery (ECF No. 36), and the July 15, 2021 Minute Order, the parties

             further believe it is in the interest of justice to toll the Speedy Trial Act while the
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         government continues to provide discovery and the parties discuss a potential pre-trial

         disposition of this matter. The parties thus request a tolling of the Speedy Trial Act,

         pursuant to 18 U.S.C. § 3161(h)(7)(A), based on the factors described in 18 U.S.C.

         3161(h)(7)(B)(i), (ii), and (iv), as well as 18 U.S.C. § 3161(h)(1)(G). Therefore, the

         parties request an exclusion of time under the Speedy Trial Act from July 29, 2021,

         through the next scheduled status date.


      Respectfully submitted,

      CHANNING D. PHILLIPS
      Acting United States Attorney

By:                       /s/                                             /s/
      Kaitlin A. Vaillancourt                             A. Eduardo Balarezo
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